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                     UNITED STATES DISTRICT COURT

                             DISTRICT OF NEVADA

                                       o-O-o

UNITED STATES OF AMERICA,
                                                        2:09-cr-00113-GMN-PAL
                                               Case No. 2:09-00113-GMN-PAL
                   Plaintiff,

      v.                                       ORDER RE-SETTING
                                               SENTENCING DATE
Jose Lopez-Buelna, et al.,

                   Defendants.

      Based on motion of the United States, with the concurrence of counsel for

defendants Jose Lopez-Buelna, Roberto Lopez, and Erik Webster, and good cause

appearing, it is hereby ORDERED that the sentencing of these defendants currently

                                                                     9:00am
set for June 14, 2011, be continued and re-set to June 21, 2011, at ______

                          ______ (defendant Lopez), and 10:30am
(defendant Lopez-Buelna), 10:00am                       ______ (defendant Erik

Webster).

       IT IS SO ORDERED this 2nd day of May, 2011.

                                             ______________________________
                                         ________________________________
                                             GLORIA M. NAVARRO
                                         Gloria M. Navarro
                                             United States District Judge
                                         United States District Judge
